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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 4:06CR124-P-B

CHARLES BARRETT MERRILL,
WILBUR TYRONE PEER,
ERWIN DAVID RABHAN,
JIMMY WINEMILLER, and
WILLIAM MICHAEL WINEMILLER,                                                    DEFENDANTS.

                                  MEMORANDUM OPINION

        These matters come before the court upon Defendant Erwin David Rabhan’s Motion to

Dismiss Counts 2, 3 & 4 for Lack of Venue [38-1], Motion to Dismiss or in the Alternative

Consolidate Multiplicitous Counts [39-1], Motion to Sever Count 11 [41-1] and Defendant Charles

Barrett Merrill’s Motion to Dismiss Count 4 for Lack of Venue [45-1]. After due consideration of

the motions and the responses filed thereto, the court is prepared to rule.

                                 I. FACTUAL BACKGROUND

A. Charges

        The indictment in this matter charges that from January 1999 to March 2000, Charles Barrett

Merrill, Wilbur Tyrone Peer, Erwin David Rabhan, Jimmy Winemiller, and William Michael

Winemiller conspired to, and did in various ways, violate 18 U.S.C. § 1014 which states in pertinent

part:

        Whoever knowingly makes any false statement or report, or willfully overvalues any
        land, property or security, for the purpose of influencing in any way the action of the
        ... Rural Development Administration or ... any institution the accounts of which are
        insured by the Federal Deposit Insurance Corporation ... upon any application,
        advance, discount, purchase, purchase agreement, repurchase agreement,


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       commitment, or loan ... shall be fined not more than $1,000,000 or imprisoned not
       more than 30 years, or both.

       Essentially, Rabhan, a resident of Georgia and president of Ehrlich Fish Farms, Inc. located

in Georgia, set out to purchase a 1,560 acre catfish farm near Inverness, Mississippi owned by

Straight Creek Farms, Inc., an Arkansas corporation, the president of which was Jimmy Winemiller.

Rabhan and Jimmy Winemiller agreed to pursue financing through the Business and Industry

Guaranteed Loan Program, a U.S. Government program that under certain circumstances will

guarantee up to ninety percent of the value of a loan. Based on the defendants’ representations, Gulf

Coast Bank and Trust Company (“GCBT”), a bank in Louisiana, agreed to make the loan.

       In count 1 of the indictment, the Government charges that all five defendants conspired to

knowingly make false statements or reports and/or to overvalue property for the purpose of

influencing the action of the Rural Development Administration of the U.S.D.A. in guaranteeing the

loan and GCBT to make the loan all in violation of § 1014.

       In the conspiracy count, the Government sets forth the objectives of the conspiracy and the

overt acts in furtherance of the conspiracy. All of the alleged overt acts are repeated in further

separate counts against the defendants.

Charles Barrett Merrill

       Charles Barrett Merrill is charged with counts 1 and 4. Count 4 alleges that he and Rabhan

aided and abetted each other in violating § 1014 by forging a contract and an October 27, 2000 letter

to Ed Bell fraudulently representing that Dal Durden had signed a contract to purchase Rabhan’s 920

acres of Ehrlich Fish Farms, Inc. that would be used as security for the loan when in fact the Rabhan

with Merrill’s assistance had already sold the property in July 1999.



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Erwin David Rabhan

       Erwin David Rabhan is charged with counts 1, 2, 3, 4, 8, and 11.

       Count 2 alleges that on or about March 15, 2000, Rabhan knowingly violated § 1014 by

forging an inventory with the name of appraiser Paul Barrett, stating that Ehrlich Fish Farms owned

$2,466,800 worth of catfish located in 25 ponds, when in fact the ponds did not exist.

       Count 3 alleges that Rabhan violated § 1014 on November 15, 2000 by signing a Deed to

Secure Debt, stating that he had “good and marketable fee simple title” to a parcel of land described

and attached to the Deed to Secure Debt, when in fact he had sold the property in July 1999.

       As discussed above with regard to Merrill, count 4 alleges that Rabhan, with the assistance

of Merrill, forged a contract and a letter fraudulently representing that he still owned 920 acres of

Ehrlich Fish Farms, Inc. when he had already sold most of it in July 1999.

       Count 8 alleges that Rabhan and William Michael Winemiller violated § 1014 in October

2000 when Rabhan directed Kent Toler to submit a fraudulent invoice to Gulf Coast Bank and Trust

for $18,000 for seining. Winemiller provided twelve ponds and their corresponding names for Toler

to submit on the fraudulent invoice, but Toler did not seine the ponds described in the invoice. Gulf

Coast Bank and Trust then paid to Kent Toler Seining, Inc., $18,000. These funds were paid with

cashier’s checks out of the government guaranteed loaned funds. Toler then paid to William Michael

Winemiller $10,100 out of the funds and kept the remainder. Toler wrote two checks rather than one

because William Michael Winemiller told him checks less than $10,000 are more difficult to trace

for tax purposes.

       Count 11 alleges that Jimmy Winemiller made material false statements and willfully

overvalued land, property, and security in violation of § 1014 by paying to Wilbur Tyrone Peer a


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$50,000 bribe to encourage Peer, as Associate Administrator at the USDA, Rural Business

Cooperative Services, to approve the $10,000,000 loan guarantee sought by Rabhan as President of

Ehrlich Fish Farms, Inc.

Jimmy Winemiller

       Jimmy Winemiller is charged in counts 1, 7, and 11.

       Count 7 alleges that he violated § 1014 in October 2000 when he had his wife, Becky

Winemiller, write a $5,000 check to her son William Michael Winemiller to bribe Paul Barrett.

William Michael Winemiller then cashed the check and paid Barrett in cash. Barrett did an inventory

of the catfish on Straight Creek Farms and the bribe was paid so Barrett would fraudulently inflate

the number and weight of the fish.

       As discussed above regarding Rabhan count 11 alleges that Jimmy Winemiller paid Wilbur

Tyrone Peer a $50,000 bribe.

William Michael Winemiller

       William Michael Winemiller is charged with counts 1, 5, 6, 8, 9, and 10.

       Count 5 alleges that William Michael Winemiller violated § 1014 by providing to Dwight

Brown fraudulent weights of catfish per pond owned by Strait Creek Farms to make Brown’s

appraisals provided to Gulf Coast Bank and Trust and the Government appear as if Straight Creek

Farms owned far more catfish than it actually did.

       Count 6 alleges William Michael Winemiller violated § 1014 by providing to Dwight Brown

fraudulent numbers to suggest Straight Creek Farms had catfish in the “Choctaw” ponds, when in

fact the catfish in the “Choctaw” ponds belonged to Kent Toler. Winemiller did this to make

Brown’s appraisals appear as if Straight Creek Farms owned more catfish than it actually did.


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        Count 8 alleges Rabhan and William Michael Winemiller violated § 1014 in October 2000

when Rabhan directed Kent Toler to submit a fraudulent invoice to Gulf Coast Bank and Trust for

$18,000 for seining. William Michael Winemiller provided twelve ponds and their corresponding

names for Toler to submit on the fraudulent invoice, but Toler did not seine the ponds described in

the invoice. Gulf Coast Bank and Trust then paid to Kent Toler Seining, Inc., $18,000. These funds

were paid with cashier’s checks out of the government guaranteed loaned funds. Toler then paid to

William Michael Winemiller $10,100 out of the funds and kept the remainder. Toler wrote two

checks rather than one because William Michael Winemiller told him checks less than $10,000 are

more difficult to trace for tax purposes.

        Count 9 alleges William Michael Winemiller violated § 1014 on March 3, 2000 when , after

learning which two ponds Straight Creek Farms the government planned to seine to determine

whether the numbers were sufficient to guarantee the loan, he directed that catfish from numerous

other ponds be seined and placed into the two ponds the government intended to seine approximately

two days later. William Michael Winemiller did this to make it appear as if Straight Creek Farms

owned more catfish than it actually did.

        Count 10 alleges William Michael Winemiller violated § 1014 in August 1999 when he told

Dwight Brown, an appraiser doing an appraisal on the equipment owned and being transferred from

Straight Creek Farms, Inc. to Ehrlich Fish Farms, Inc., that Straight Creek Farms had 278 aerators

and 42 PTO driven aerators. These numbers were fraudulent, and William Michael Winemiller

inflated the numbers to make it appear that Straight Creek Farms owned more equipment than it

actually did. This equipment was to be used as part of the security for the loan after Rabhan came

into possession of it.


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Wilbur Tyrone Peer

       William Tyrone Peer is charged with counts 1 and 11. As discussed above regarding Rabhan

and Jimmy Winemiller, count 11 alleges that Jimmy Winemiller made material false statements and

willfully overvalued land, property, and security in violation of § 1014 by paying to Wilbur Tyrone

Peer a $50,000 bribe to encourage Peer, as Associate Administrator at the USDA, Rural Business

Cooperative Services, to approve the $10,000,000 loan guarantee sought by Rabhan as President of

Ehrlich Fish Farms, Inc.

B. Motions

       Defendant Rabhan has filed three motions. The first is to dismiss counts 2, 3 & 4 for lack of

venue arguing that these are substantive acts instead of the overt acts of the conspiracy charge and,

since they occurred in Louisiana and/or Georgia and not in Mississippi, the proper venue is not in

Mississippi. The second motion seeks to dismiss or to consolidate counts 2, 3, 4 & 8 as duplicitous

since all of these alleged acts were done for only one application for a loan. The third motion seeks

to sever count 11 since it would unduly prejudice Rabhan during his trial since it mentions him by

name even though Jimmy Winemiller is the one who allegedly bribed Peer and because a bribe in

and of itself is not a false statement within the meaning of § 1014.

       Defendant Charles Barrett Merrill has also filed a motion to dismiss count 4 for lack of venue

because the alleged actions did not take place in Mississippi but rather in Georgia. That is, the

contract and letter discussed in count 4 were drafted in Georgia and sent to Ed Bell in Louisiana who

transmitted the letter to Gulf Coast Bank & Trust in New Orleans, Louisiana.




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                                          II. DISCUSSION

A. Motions to Dismiss for Lack of Venue

        Both Merrill and Rabhan move to dismiss certain counts for lack of venue since, they argue,

the alleged actions giving rise to the counts were done in Georgia and/or Louisiana and not in

Mississippi.

        Article III, Section 2, Clause 3 of the U.S. Constitution provides that “[t]he trial of all crimes

... shall be in the State where the said crimes shall have been committed.” The Sixth Amendment to

the Constitution provides that “in all criminal prosecutions the accused shall enjoy the right to a

speedy and public trial, by an impartial jury of the State and district wherein the crime shall have

been committed.” Federal Rule of Criminal Procedure 18 provides that “prosecution shall be had in

a district in which the offense was committed.”

        Conspiracy is a continuing offense which under 18 U.S.C. § 3237 may be tried in any district

in which the crime took place. U.S. v. Davis, 666 F.3d 195, 199 (5th Cir. 1982). Section 3237(a)

provides in pertinent part:

        Except as otherwise expressly provided by enactment of Congress, any offense
        against the United States begun in one district and completed in another, or
        committed in more than one district, may be inquired of and prosecuted in any
        district in which such offense was begun, continued, or completed.
18 U.S.C. § 3237(a).

It is undisputed that counts 2, 3, and 4 are also continuing offenses against the United States pursuant

to § 3237(a) since they were begun in one district and completed in more than one district.

        The question at bar, however, is whether venue for counts 2, 3, and 4 is proper in the

Northern District of Mississippi when the subject fraudulent statements were made in Georgia and



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were sent to Gulf Coast Bank and Trust in Louisiana.

       More specifically, with regard to count 2, Rabhan argues that the allegedly forged catfish

inventory of Ehrlic Fish Farms, Inc. was done in Georgia and sent to the bank in Louisiana. With

regard to count 3, Rabhan avers that the allegedly fraudulent Deed to Secure Debt wherein Rabhan

stated he had “good and marketable fee simple title” to property when in fact he had already sold the

property was also prepared and signed in Georgia and sent to the bank in Louisiana. As to count 4,

Rabhan and Merrill argue that the allegedly forged contract and letter to Ed Bell representing Ehrlich

Fish Farms, Inc. owned property they did not were made in Georgia and sent to the bank in

Louisiana.

       The defendants point to U.S. v. Zwego, 657 F.2d 248, 251 (10th Cir. 1981) for the proposition

that “[t]he proper venue for the offense of making false statements to a federally insured bank may

be either where the false statements were prepared, executed, or made, or where the offense was

completed upon a receipt of the false information by the bank.” These defendants argue that nothing

alleged in counts 2, 3, or 4 involve conduct begun, made, or completed in the Northern District of

Mississippi and that therefore the only proper venue for these counts is in Louisiana or Georgia.

Furthermore, the defendants argue that the Government will not be prejudiced since all of the

behavior discussed in counts 2, 3, and 4 is described in the overt acts of the conspiracy.

       The Government does not dispute the veracity of the rule discussed in Zwego. The

Government concedes that “the fraudulent documents were created by the defendant(s) in Georgia,

and it is also undisputed that these documents eventually made their way to both New Orleans,

Louisiana (GCBT) and the Southern District of Mississippi (USDA).” Gov. Brief at 4-5. The



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Government argues, however, that by contract and statute the funds obtained based on the fraudulent

documents were to be used only to purchase and operate a catfish pond in the Northern District of

Mississippi and thus, the effect of the crimes were felt most strongly in the Mississippi Delta. The

Government also concedes that “the issue now before the court appears to be a case of first

impression.” Gov. Brief at 6.

       The Government cites U.S. v. Pomranz, 43 F.3d 156 (5th Cir. 1995) in support of their

argument that even if a fraudulent statement pursuant to § 1014 is made, received, and completed

in districts other than the current forum, as long as the fraudulent statement (as an independent

substantive crime constituting a separate count in addition to an overt act in furtherance of the

conspiracy charge) substantially affects the current forum, venue is proper. In Pomranz, the Fifth

Circuit Court of Appeals held that venue was proper for one count of unlawful use of a firearm

during a drug trafficking offense in violation of 18 U.S.C. § 924(c)(1) in the same district as the

several other counts for conspiracy to distribute over 1000 kilograms of marihuana in violation of

21 U.S.C. § 846, unlawful use of a communication facility in violation of 21 U.S.C. § 843(b),

interstate travel in aid of racketeering in violation of 18 U.S.C. § 1952, and aiding and abetting the

possession with intent to distribute marihuana in violation of 21 U.S.C. § 841(a)(1). In that case, all

of the counts occurred in Texas with the exception of the use of a firearm during a drug trafficking

offense which occurred in Oklahoma. In his § 2255 motion to reduce his sentence, the petitioner

argue that venue was improper for the gun charge in Texas since he had the gun in Oklahoma. The

petitioner cited U.S. v. Davis, supra for the proposition that venue for a conspiracy charge does not

dictate the venue for a related charge.

       The Fifth Circuit in Pomranz concluded that despite Davis, venue was proper on the gun

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charge in Texas even though it occurred in Oklahoma. Id. at 162. However, the Court did so

specifically on the grounds that 18 U.S.C. § 924(c)(1) itself establishes a link between the possession

of a gun and using it in furtherance of drug trafficking. The Court wrote:

        We agree with appellant that in Davis, due to the facts and the specific crimes with
        which the defendants were charged, that venue for the substantive offense had been
        improper in the Middle District of Georgia. Davis, however, is distinguishable from
        the case before us. Although the cases appear to be similar, the substantive counts in
        question were based on different statutes and that is where the difference lies. The
        clear language of § 924 and the Congressional purpose behind it differentiates it from
        other offenses, including possession with intent to distribute a narcotic.


Id. at 161 n. 8.


        Thus, this court concludes that the decision in Pomranz is narrowly tailored to § 924 gun

crimes in connection with drug trafficking and not fraudulent statements made in violation of 18

U.S.C. § 1014.

        Having considered the arguments, the court concludes further that venue is improper in the

Northern District of Mississippi for counts 2, 3, & 4. It is undisputed that the subject fraudulent

statements were made in Georgia and sent to the bank in Louisiana. The Government argues further

that the documents were received by the USDA in the Southern District of Mississippi. The subject

documents, however, were not prepared, executed, made, or completed in the Northern District of

Mississippi. Therefore, counts 2, 3, & 4 should be dismissed for improper venue. This is not to say,

however, that the Government is precluded from offering evidence of the behavior in counts 2, 3,

& 4 as over acts in furtherance of the conspiracy.

        Though this court recognizes that the Government is prejudiced by having to try Merrill and

Rabhan in Georgia or Louisiana (or perhaps even in the Southern District of Mississippi) for counts

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2, 3, and 4, the Supreme Court has indicated that such prejudice is not unfair prejudice. See U.S. v.

Cabrales, 524 U.S. 1, 9-10 (1998).

B. Rabhan’s Motion to Dismiss Counts 2, 3, 4, & 8 as Duplicitous

        Defendant Rabhan’s second motion seeks to dismiss or to consolidate counts 2, 3, 4 & 8 as

duplicitous since all of these alleged acts were done for only one application for a loan.

        It bears repeating that § 1014 states in pertinent part:

        Whoever knowingly makes any false statement or report, or willfully overvalues any
        land, property or security, for the purpose of influencing in any way the action of
        the ... Rural Development Administration or ... any institution the accounts of which
        are insured by the Federal Deposit Insurance Corporation ... upon any application,
        advance, discount, purchase, purchase agreement, repurchase agreement,
        commitment, or loan ... shall be fined not more than $1,000,000 or imprisoned not
        more than 30 years, or both.
18 U.S.C. § 1014 (emphasis added).

        Thus, the question is whether multiple false statements or willful overvaluations of property

can constitute more than one count under § 1014 when all of those false statements or overvaluations

of property were made in connection with only one application for a loan guaranteed by the U.S.

Government via the Rural Development Administration and a loan made by a bank insured by the

FDIC.

        However, since the court has already concluded that counts 2, 3, & 4 should be dismissed

without prejudice for improper venue, the instant motion is not properly before this court and should

therefore be dismissed without prejudice.

C. Rabhan’s Motion to Sever Count 11

        Defendant Rabhan’s third motion argues that pursuant to Fed. R. Crim. P. 14, count 11


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should be severed from his trial on the ground that it is unduly prejudicial and improper under 18

U.S.C. § 10124 and Fed. R. Crim. P. 8.

       Count 11 alleges that Defendant Jimmy WInemiller paid a $50,000 bribe to Defendant

Wilbur Peer to ensure that the loan guarantee sought by Defendant Rabhan was approved by the

Rural Development Administration. More specifically, count 11 alleges in its entirety:

       On or about February 4, 2001, in the Northern District of Mississippi and elsewhere,
       JIMMY WINEMILLER, defendant herein, knowingly made material false statements
       and reports and willfully overvalued land, property, and security, for the purpose of
       influencing the action of the Rural Development Administration and Gulf Coast
       Bank and Trust Company, an institution the accounts of which are insured by the
       Federal Deposit Insurance Corporation, in connection with an application, advance,
       discount, purchase, purchase agreement, repurchase agreement, commitment, or loan.
       Specifically JIMMY WINEMILLER paid to WILBUR TYRONE PEER a $50,000
       bribe to encourage PEER as Associate Administrator at the U.S.D.A., Rural Business
       Cooperative Services, to approve the $10,000,000 loan guarantee being sought by
       ERWIN DAVID RABHAN as President of Ehrlich Fish Farms, Inc., RABHAN
       sought the loan to purchase the 1,560 acre catfish farm owned by Straight Creek
       Farms, Inc. near Inverness, Mississippi. To conceal the bribe, on February 4, 2001,
       JIMMY WINEMILLER directed his wife, Becky Winemiller, to write a $155,000
       check (#3218) to Mays Byrd & Hicks, P.A., and on February 6, 2001, Mays directed
       that $50,000 be transferred from Maybeck, Inc. (Mays’ company) to Sunrise Flat
       Development, Inc. (PEER’s company); all in violation of 18 U.S.C. § 1014.


       Defendant Rabhan argues that the inclusion of this count would be unduly prejudicial if

allowed before the jury in his case, especially since he is not alleged to have bribed Peer, but rather

Jimmy Winemiller is. In addition, Rabhan maintains that count 11 does not even violate 18 U.S.C.

§ 1014 because a bribe is not a “false statement” or “willful overvaluation” of property. Since

Rabhan is not specifically charges in this count, he does not have standing to move for its dismissal

on the basis the count does not violate § 1014. The question remains as to whether the count should

be severed from his trial – which by implication would mean that Rabhan would have to have a


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separate trial from the other defendants, all of whom are currently charged under the same

indictment.

       Federal Rule of Criminal Procedure 8(a) provides:

       The indictment or information may charge 2 or more defendants if they are alleged
       to have participated in the same act or transaction, or in the same series of acts or
       transactions, constituting an offense or offenses. The defendants may be charged in
       one or more counts together or separately. All defendants need not be charged in each
       count.


       “As a general rule, persons indicted together should be tried together, particularly in

conspiracy cases.” U.S. v. Pettigrew, 77 F.3d 1500, 1517 (5th Cir. 1996). “[P]roper joinder requires

that the offenses charged ‘must be shown to be part of a single plan or scheme,’ and ... ‘[p]roof of

such a common scheme is typically supplied by an overarching conspiracy from which stems each

of the substantive counts.’ ” Id. (quoting U.S. v. Faulkner, 17 F.3d 745, 758 (5th Cir. 1994)).

       The court concludes that it was proper for the Government to include count 11 in the

indictment that includes counts against Defendant Rabhan. The next question is whether, despite the

propriety under Rule 8(a), count 11 should be severed with regard to Rabhan. Federal Rule of

Criminal Procedure 14(a) provides:


       If the joinder of offenses or defendants in an indictment, an information, or a
       consolidation for trial appears to prejudice a defendant or the government, the court
       may order separate trials of counts, sever the defendants'trials, or provide any other
       relief that justice requires.


       “[W]hen defendants properly have been joined under Rule 8(b), a district court should grant

a severance under Rule 14 only if there is a serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from making a reliable judgment about guilt


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or innocence. ” Zafiro v. United States, 506 U.S. 534, 539 (1993). “Such a risk might occur when

evidence that the jury should not consider against a defendant and that would not be admissible if

a defendant were tried alone is admitted against a codefendant.” Id.

       The substance of count 11 is contained in one of the overt acts of the conspiracy charged in

count 1 against all five defendants. More specifically, paragraph 16 of the overt acts section states:

“JIMMY WINEMILLER paid to PEER a $50,000 bribe to make certain that PEER approve the loan

on the Straight Creek Farms transaction.” Furthermore, with regard to Peer, the Objectives of the

Conspiracy section of count 1 states in pertinent part:

       To make certain that the federal government would approve the B&I loan, JIMMY
       WINEMILLER, MICHAEL WINEMILLER and RABHAN enlisted the help of
       PEER, JIMMY WINEMILLER’S friend and would-be business associate. At the
       time that this loan was being discussed, PEER was employed with the U.S.D.A. in
       Washington, D.C. Specifically, PEER’S position was described as the Associate
       Administrator at the U.S.D.A., Rural Business Cooperative Services. Actually, when
       PEER approved the loan at issue he was the Acting Administrator. In essence, it was
       one of PEER’S duties to determine whether government guarantees – such as the one
       being sought by his friend, JIMMY WINEMILLER – were to be approved or not.



       As can be seen in the above language, the Government is alleging that Defendant Rabahan,

along with Jimmy and Michael Winemiller, “enlisted the help of Peer” in guaranteeing the subject

loan. Therefore, the evidence of a bribe would appear admissible as to Rabhan since he is alleged

to have participated in the bribe as discussed in count 1. However, this evidence is admissible as to

Rabhan only with regard to the conspiracy charge against him and not count 11 since count 11 does

not appear to specifically charge Rabhan with the bribe.

       Accordingly, the court concludes that Defendant Rabhan’s motion to sever count 11 should

be denied.

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                                      III. CONCLUSION

       For the reasons discussed above, the court concludes that Defendant Erwin David Rabhan’s

Motion to Dismiss Counts 2, 3 & 4 for Lack of Venue [38-1] and Defendant Charles Barrett

Merrill’s Motion to Dismiss Count 4 for Lack of Venue [45-1] should be granted. Therefore, counts

2, 3, and 4 should be dismissed without prejudice as to Defendants Erwin David Rabhan and Charles

Barrett Merrill for lack of venue. Defendant Erwin David Rabhan’s Motion to Dismiss or in the

Alternative Consolidate Multiplicitous Counts [39-1] and Motion to Sever Count 11 [41-1] should

be denied. Accordingly, and Order shall issue forthwith,

THIS DAY of January 29, 2007.

                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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